 

Case: 1:13-cr-00600 Document #: 88 Filed: 02/11/16 Page 1 of 3 PagelD #:233 i
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UDGE DERYEGHIAVAN
ee AnCISTRATE JUDGE FISRtEGAN

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS

 

and 1951
Second Superseding Indictment

a/k/a “Thunder” and “Thun,” and
JAMES D. GOUSKOS

EASTERN DIVISION
UNITED STATES OF AMERICA )
) No. 13 CR 600
Vv. )
)
CHARLES HARPER, ) Violations: 18 U.S.C. §§ 924(c)(1)
)
)

 

COUNT ONE
The SPECIAL JANUARY 2015 GRAND JURY charges:
On or about September 22, 2011, at Chicago, in the Northern District of

Illinois, Eastern Division, and elsewhere,

CHARLES HARPER,
a/k/a “Thunder” and “Thun,” and
JAMES GOUSKOS,

defendants herein, did conspire with each other, Aaron Russell, and others known
and unknown to the Grand Jury, to obstruct, delay, and affect commerce and the
movement of articles and commodities in commerce by robbery, as “commerce” and
“robbery” are defined in Title 18, United States Code, Section 1951(b), that is, to
unlawfully take and obtain property from the person and in the presence of the
owner of a jewelry store located on the 5100 block of West Diversey Avenue in
Chicago, Illinois, against that person’s will, by means of actual and threatened force
and fear of injury to that person;

In violation of Title 18, United States Code, Section 1951(a).

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COUNT TWO
The SPECIAL JANUARY 2015 GRAND JURY further charges:
On or about September 22, 2011, at Chicago, in the Northern District of

Illinois, Eastern Division, and elsewhere,

CHARLES HARPER,
a/k/a “Thunder” and “Thun,” and

JAMES GOUSKOS,
defendants herein, did attempt to obstruct, delay, and affect commerce and the
movement of articles and commodities in commerce by robbery, as “commerce” and
“robbery” are defined in Title 18, United States Code, Section 1951(b), in that
defendants did attempt to unlawfully take and obtain property from the person and
in the presence of the owner of a jewelry store located on the 5100 block of West
Diversey Avenue in Chicago, Illinois, against that person’s will, by means of actual

and threatened force and fear of injury to that person;

In violation of Title 18, United States Code, Section 1951 (a).
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COUNT THREE
The SPECIAL JANUARY 2015 GRAND JURY further charges:
On or about September 22, 2011, at Chicago, in the Northern District of

Illinois, Eastern Division:

CHARLES HARPER,
a/k/a “Thunder” and “Thun,”

defendant herein, did use, carry, brandish, and discharge a firearm during and in
relation to a crime of violence for which he may be prosecuted in a court of the United
States, namely, conspiracy to commit robbery and attempted robbery, in violation of
Title 18, United States Code, Section 1951(a), as charged in Counts One and Two of
this Indictment;

In violation of Title 18, United States Code, Section 924(c)(1)(A).

A TRUE BILL:

 

FOREPERSON

 

UNITED STATES ATTORNEY
